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           B1040 (FORM 1040) (12/15)

                 ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                                      (Court Use Only)
                         (Instructions on Reverse)

       PLAINTIFFS                                                                      DEFENDANTS
       Ariane Holtschlag, Trustee                                                      Tierra Seay


       ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
       Justin Storer
       105 W. Madison Suite 1500; Chicago, IL 60602
       312-878-6976
       PARTY (Check One Box Only)                         PARTY (Check One Box Only)
       Ƒ 'HEWRU    Ƒ 86 Trustee/Bankruptcy Admin        Ƒ Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
       Ƒ &UHGLWRU  Ƒ 2WKHU                                Ƒ Creditor    Ƒ Other
       Ƒ 7UXVWHH                                          Ƒ Trustee
       CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

       Denial of discharge under 11 U.S.C. §§ 727(a)(3), 727(a)(4)(A), 727(a)(4)(D), 727(a)(5), and 727(a)(6)(A).



                                                                           NATURE OF SUIT
                (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

            FRBP 7001(1) – Recovery of Money/Property                                  FRBP 7001(6) – Dischargeability (continued)
       Ƒ 11-Recovery of money/property - §542 turnover of property                     Ƒ  61-Dischargeability - §523(a)(5), domestic support
       Ƒ 12-Recovery of money/property - §547 preference                               Ƒ  68-Dischargeability - §523(a)(6), willful and malicious injury
       Ƒ 13-Recovery of money/property - §548 fraudulent transfer                      Ƒ  63-Dischargeability - §523(a)(8), student loan
       Ƒ 14-Recovery of money/property - other                                         Ƒ  64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                             (other than domestic support)
            FRBP 7001(2) – Validity, Priority or Extent of Lien
       Ƒ 21-Validity, priority or extent of lien or other interest in property         Ƒ  65-Dischargeability - other

                                                                                       FRBP 7001(7) – Injunctive Relief

       Ƒ
            FRBP 7001(3) – Approval of Sale of Property                                Ƒ 71-Injunctive relief – imposition of stay
            31-Approval of sale of property of estate and of a co-owner - §363(h)      Ƒ 72-Injunctive relief – other
            FRBP 7001(4) – Objection/Revocation of Discharge
       Ƒ 41-Objection / revocation of discharge - §727(c),(d),(e)                      FRBP 7001(8) Subordination of Claim or Interest
                                                                                       Ƒ 81-Subordination of claim or interest
            FRBP 7001(5) – Revocation of Confirmation
       Ƒ 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                       Ƒ 91-Declaratory judgment
            FRBP 7001(6) – Dischargeability
       Ƒ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                                     Ƒ
       Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause

             actual fraud                                                            Other
       Ƒ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                          (continued next column)                                    Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                               if unrelated to bankruptcy case)
       Ƒ Check if this case involves a substantive issue of state law                  Ƒ Check if this is asserted to be a class action under FRCP 23
       Ƒ &KHFNLIDMXU\trial is demanded in complaint                                Demand $ n/a
       Other Relief Sought
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              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
Tierra Seay                                                           22-06303
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
Northern District of Illinois                                         Eastern                            Cassling
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                       DEFENDANT                                                ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)
/s/ Justin Storer



DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
10/17/2022                                                             Justin Storer



                                                          INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 In re:                                      Chapter 7

 Tierra Seay,                                Bankruptcy No. 22-06303

                           Debtor.           Honorable Donald R. Cassling

 Ariane Holtschlag, not
 individually but as the chapter
 7 Trustee for the bankruptcy
 estate of Tierra Seay,
                                             Adversary No.
                           Plaintiff,

 v.

 Tierra Seay,

                           Defendant.


                  COMPLAINT TO DENY DEBTOR’S DISCHARGE
        Ariane Holtschlag, not individually, but as the chapter 7 Trustee for
 the estate of Tierra Seay (the “Trustee” or “Plaintiff”), brings this
 Complaint against Tierra Seay (the “Debtor” or “Defendant”), seeking to
 deny the Debtor’s discharge under 11 U.S.C. § 727(a)(3), 11 U.S.C. §
 727(a)(4)(A), 11 U.S.C. § 727(a)(4)(D), 11 U.S.C. § 727(a)(5), and 11 U.S.C. §
 727(a)(6)(A).
        The Debtor has repeatedly refused to provide the Trustee necessary
 information and documentation relating to the Debtor’s assets, income, and
 financial affairs. As such, the Debtor’s discharge should be denied.




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                               JURISDICTION AND VENUE
        1.     This adversary proceeding arises in the Debtor’s Chapter 7
 bankruptcy case, pending before this Court as case number 22-06303 (the
 “Case”).
        2.     Pursuant to 28 U.S.C. § 1334(b), this Court has subject matter
 jurisdiction over this proceeding, which is referred here pursuant to 28
 U.S.C. §157(a) and Local Rule 40.3.1(a) of the United States District Court
 for the Northern District of Illinois.
        3.     This is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (J), and
 (O).
        4.     If it is determined that any portion of this proceeding is not a
 core proceeding or that a bankruptcy judge does not have constitutional
 authority to enter final judgments in this proceeding, the Plaintiff consents,
 pursuant to 28 U.S.C. § 157(c)(2), to a bankruptcy judge hearing and finally
 determining the proceeding and entering appropriate orders and
 judgments.
        5.     This Court is the proper venue for this adversary proceeding
 pursuant to 28 U.S.C. § 1409.
        6.     This proceeding is an adversary proceeding, pursuant to Federal
 Rules of Bankruptcy Procedure 7001(4).

                          FACTS COMMON TO ALL COUNTS
        7.     On June 3, 2022, the Debtor commenced the Case by filing a
 voluntary petition.
        8.     At that time, the Plaintiff was appointed the Debtor’s chapter 7
 Trustee, and has all the powers of a trustee, including, pursuant to 11
 U.S.C. § 727(c)(1), to object to the granting of a debtor’s discharge.

        9.     Alongside her voluntary petition, the Debtor filed a complete set
 of schedules, and a statement of financial affairs, and signature pages




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 attesting to the veracity of the same. (A copy of the complete filing is
 attached hereto as Exhibit A.)

      10.    Neither any of the Debtor’s schedules, nor her statement of
 financial affairs, have ever been amended as of this writing.
      11.    On her schedule A/B, the Debtor listed that she had one bank
 account, with Bank of America. She listed no other financial accounts.
      12.    On her schedule A/B, the Debtor listed that she did not have any
 bonds, mutual funds, publicly-traded stocks, non-publicly-traded stocks,
 interests in businesses, retirement or pension accounts, annuities, trusts,
 claims she could bring, or other financial assets.
      13.    On her schedule A/B, the Debtor valued the sum total of all her
 property and rights to property at $1,830.00.

      14.    On her schedule E/F, the Debtor valued her total nonpriority
 unsecured claims at $25,192.00.
      15.    On her schedule I, the Debtor listed that she only had one source
 of income, from her service at University of Chicago Hospital, and that she
 netted about $2,858.64 per month.

      16.    Filed alongside the schedules was a “Declaration About an
 Individual Debtor’s Schedules” reciting: “Under penalty of perjury, I
 declare that I have read the summary and schedules filed with this
 declaration and that they are true and correct.”

      17.    A true and correct copy of the Debtor’s signature, on that
 Declaration, appears at page 62 of Exhibit A.
      18.    On line 4 of her Statement of Financial Affairs, the Debtor listed
 that she made, from wages (including commissions, bonuses, and tips)
 $17,000.00 (as of the filing of the Case) in 2022, $40,000 in 2021, and
 $35,000 in 2020.
      19.    On line 5 of her Statement of Financial Affairs, the Debtor listed
 that she received only one other source of income, Link (commonly



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 understood to indicate State of Illinois cash assistance or SNAP/food stamp
 benefits), for about $112.00 in 2021 and 2020.

      20.    Nowhere on her Statement of Financial Affairs did the Debtor
 disclose any other income in year 2020, 2021, or 2022.
      21.    Nowhere on her Statement of Financial Affairs did the Debtor
 disclose any transfers of property within two years before the
 commencement of the Case.

      22.    The Debtor executed her Statement of Financial Affairs,
 indicating “I have read the answers on this Statement of Financial Affairs
 and any attachments, and I declare under penalty of perjury that the
 answers are true and correct.”

      23.    A true and correct copy of the Debtor’s signature on the
 Statement of Financial Affairs appears at page 63 of Exhibit A.
      24.    On or about June 27, 2022, the Debtor’s counsel transmitted
 documentation to the Trustee, including the Debtor’s tax return transcripts
 for tax years 2020 and 2021. A copy of these transcripts is attached hereto
 as Exhibit B.
      25.    The Debtor’s 2020 tax return transcript indicates that the Debtor
 received $25,628.00 in “qualified dividend income” and $1,384 in “business
 income,” bringing her total income (alongside her $34,821 in wages for that
 year) to $61,833.
      26.    The Debtor’s 2021 tax return transcript indicates that the Debtor
 received $25,970.00 in “ordinary dividend income,” bringing her total
 income (alongside her $44,017 in wages for that year) to $69,987.

      27.    At the Debtor’s initial meeting of creditors, she testified that all
 the information in her Schedules and Statement of Financial Affairs was
 true and correct.
      28.    At the Debtor’s initial meeting of creditors, she testified that
 prior to the pandemic she had held stocks, but the Debtor was unable or



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 unwilling to identify the source of the dividend income or the disposition of
 these assets.

      29.    On September 6, 2022, the Bankruptcy Court entered an order
 authorizing examination of the Debtor under Federal Rule of Bankruptcy
 Procedure 2004, directing that the Debtor shall deliver certain documents
 to the Trustee on or before September 20, 2022, including, inter alia, the
 name, address, and phone number of the Debtor’s tax preparer for tax year
 2020 and 2021, copies of the 2020 and 2021 tax returns themselves,
 statement of accounts for all investment or brokerage accounts in which the
 debtor had an interest from January 1, 2020 to the present, and related
 documentation. A copy of this order is attached hereto as Exhibit C.
      30.    The Trustee personally caused a copy of the 2004 order to be
 mailed to the Debtor on September 7, 2022. See Dkt. No. 18.

      31.    When that 2004 order was entered, the Debtor was represented
 by bankruptcy counsel. On September 16, 2022, counsel requested leave to
 withdraw. This request was granted on September 27, 2022.
      32.    The Trustee, additionally, personally mailed a letter to the
 Debtor demanding compliance with the 2004 order and including another
 copy of the 2004 order on September 26, 2022.
      33.    The Debtor has not amended her schedules or provided any of
 the required information.
      34.    The Debtor has not followed-up with the Trustee in any way.

       COUNT 1 – DENIAL OF DISCHARGE: 11 U.S.C. § 727(a)(3)
      35.    The Trustee incorporates each of the other allegations of this
 Complaint as though fully set forth herein, except that any allegations
 inconsistent with the relief requested in this Count are not included.
      36.    Pursuant to 11 U.S.C. § 727(a)(3), the Court shall grant a debtor
 a discharge unless the debtor has concealed, destroyed, mutilated, falsified,
 or failed to keep or preserve any recorded information from which the



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 debtor’s financial condition or business transactions might be ascertained,
 unless such act or failure to act was justified under all of the circumstances
 of the case.
         37.    The Debtor’s refusal to provide the trustee information about (at
 a minimum) her tax preparer, her actual tax returns, her dividend income,
 and related issues, is not justified under all of the circumstances of the
 case.
         38.    The Debtor, instead, has concealed such information.

 WHEREFORE the Plaintiff, Ariane Holtschlag, not individually, but as
 the chapter 7 Trustee for the estate of Tierra Seay, prays this Court enter
 an order denying the Debtor’s discharge, and that the Court enter such
 other and further relief as it deems appropriate.

     COUNT 2 – DENIAL OF DISCHARGE: 11 U.S.C. § 727(a)(4)(A)
         39.    The Trustee incorporates each of the other allegations of this
 Complaint as though fully set forth herein, except that any allegations
 inconsistent with the relief requested in this Count are not included.

         40.    Pursuant to 11 U.S.C. § 727(a)(4)(A), the Court shall grant a
 debtor a discharge unless the debtor has knowingly and fraudulently, in or
 in connection with the case, made a false oath or account.
         41.    The Debtor’s schedules and statement of financial affairs provide
 false oaths or accounts regarding her assets, income, and financial affairs.

         42.    The Debtor made such false oaths knowingly and fraudulently.

 WHEREFORE the Plaintiff, Ariane Holtschlag, not individually, but as
 the chapter 7 Trustee for the estate of Tierra Seay, prays this Court enter
 an order denying the Debtor’s discharge, and that the Court enter such
 other and further relief as it deems appropriate.




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      COUNT 3 – DENIAL OF DISCHARGE: 11 U.S.C. § 727(a)(4)(D)
      43.    The Trustee incorporates each of the other allegations of this
 Complaint as though fully set forth herein, except that any allegations
 inconsistent with the relief requested in this Count are not included.
      44.    Pursuant to 11 U.S.C. § 727(a)(4)(D), the Court shall grant a
 debtor a discharge unless the debtor has knowingly and fraudulently, in or
 in connection with the case, withheld from an officer of the estate entitled
 to possession under the Bankruptcy Code any recorded information,
 including books, documents, records, and papers, relating to the Debtor’s
 property or financial affairs.

      45.    The Debtor has refused to provide to the Trustee recorded
 information, including actual tax returns, financial statements, and
 account statements.
      46.    The Debtor refuses to do so knowingly and fraudulently.

 WHEREFORE the Plaintiff, Ariane Holtschlag, not individually, but as
 the chapter 7 Trustee for the estate of Tierra Seay, prays this Court enter
 an order denying the Debtor’s discharge, and that the Court enter such
 other and further relief as it deems appropriate.

       COUNT 4 – DENIAL OF DISCHARGE: 11 U.S.C. § 727(a)(5)
      47.    The Trustee incorporates each of the other allegations of this
 Complaint as though fully set forth herein, except that any allegations
 inconsistent with the relief requested in this Count are not included.
      48.    Pursuant to 11 U.S.C. § 727(a)(5), the Court shall grant a debtor
 a discharge unless the debtor failed to explain satisfactorily any loss of
 assets or deficiency of assets to meet the debtor’s liabilities.

      49.    The Debtor has failed to explain satisfactorily why she is unable
 to pay $25,192.00 in general unsecured debt when she has received
 dividends exceeding that amount in year 2020 and 2021.




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 WHEREFORE the Plaintiff, Ariane Holtschlag, not individually, but as
 the chapter 7 Trustee for the estate of Tierra Seay, prays this Court enter
 an order denying the Debtor’s discharge, and that the Court enter such
 other and further relief as it deems appropriate.

      COUNT 5 – DENIAL OF DISCHARGE: 11 U.S.C. § 727(a)(6)(A)
      50.    The Trustee incorporates each of the other allegations of this
 Complaint as though fully set forth herein, except that any allegations
 inconsistent with the relief requested in this Count are not included.
      51.    Pursuant to 11 U.S.C. § 727(a)(6)(A), the Court shall grant a
 debtor a discharge unless the debtor has refused to obey any lawful order of
 the court, other than an order to respond to a material question or to
 testify.
      52.    The 2004 examination order was not an order to respond to a
 material question or to testify. By its terms, it was a directive to the Debtor
 to provide documentation.

      53.    The Debtor has refused to comply with the 2004 order.
 WHEREFORE the Plaintiff, Ariane Holtschlag, not individually, but as
 the chapter 7 Trustee for the estate of Tierra Seay, prays this Court enter
 an order denying the Debtor’s discharge, and that the Court enter such
 other and further relief as it deems appropriate.

                                             Respectfully submitted,

 Dated: October 17, 2022                     Ariane Holtschlag, not
                                             individually but as the chapter
                                             7 bankruptcy trustee for the
                                             estate of Tierra Seay,

                                             By: /s/ Justin R. Storer
                                             One of her attorneys




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